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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 PROVEN INDUSTRIES INC.,
 a Florida corporation,                           Case No. 8:25-CV-01119-MSS-LSG

       Plaintiff,

 v.

 TREVOR McNALLY, individual,

       Defendant.
 ______________________________/


                            NOTICE OF APPEARANCE

       David A. Hayes, of the law firm of Turkel Cuva Barrios, P.A., hereby enters his

 appearance as counsel of record for Defendant Trevor McNally. Please add the

 undersigned to your service list as counsel of record for Defendant.

                                               /s/ David A. Hayes
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                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 12, 2025, the foregoing document was filed
 with the Court’s CM/ECF system, which will send electronic notice to all counsel of
 record.

                                             /s/ David A. Hayes
                                             Attorney




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